Case 5:24-cr-00097-TPB-PRL   Document 16-3   Filed 01/30/25   Page 1 of 3 PageID 78




                             Exhibit C
Case 5:24-cr-00097-TPB-PRL
         Case 1:23-cr-00160-RCDocument
                                 Document
                                       16-374 Filed
                                               Filed01/30/25
                                                     01/21/25 Page
                                                               Page2 1ofof3 1PageID 79




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA

      v.                                               Case No. 23-cr-160-RC

  DANIEL BALL,

       Defendant.

      UNITED STATES’ MOTION TO DISMISS INDICTMENT WITH PREJUDICE
        PURSUANT TO FEDERAL RULE OF CRIMINAL PROCEDURE 48(a)

           The United States of America, by and through its attorney, the United States Attorney for

 the District of Columbia, respectfully submits this motion.

           Pursuant to Federal Rule of Criminal Procedure 48(a), the government hereby moves to

 dismiss the indictment against the defendant with prejudice. The government cites to the Executive

 Order dated January 20, 2025, Granting Pardons and Commutation of Sentences for Certain

 Offenses Relating to the Events at Or Near the United States Capitol on January 6, 2021, as the

 reason for this dismissal.

                                                         Respectfully submitted,

                                                         EDWARD R. MARTIN, JR.
                                                         United States Attorney
                                                         D.C. Bar No. 481866


                                                         ____________/S/_______
                                                         ADAM M. DREHER
                                                         Assistant United States Attorney
                                                         Mich. Bar P79246
                                                         601 D Street, NW
                                                         Washington, D.C. 20530
                                                         adam.dreher@usdoj.gov
                                                         (202) 252-1706



                                                   1
Case 5:24-cr-00097-TPB-PRL
        Case 1:23-cr-00160-RC Document
                                Document
                                       16-3
                                         74-1 Filed
                                                 Filed
                                                    01/30/25
                                                       01/21/25 Page
                                                                  Page
                                                                     3 of
                                                                        13ofPageID
                                                                            1      80




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA                    :
                                             :
               v.                            :       Case No. 23-cr-160-RC
                                             :
 DANIEL BALL,                                :
                                             :
                                             :
                       Defendant.            :

                                             ORDER

        Pursuant to the motion filed by the United States, ECF No. 74, it is hereby ordered that

 the Motion to Dismiss the Indictment pursuant to Rule 48(a) with prejudice is GRANTED.



        SO ORDERED this _____ day of __________, 2025.



                                             _____________________________________
                                             HONORABLE Rudolph Contreras
                                             United States District Court Judge
